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 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,     Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                               DEFENDANTS NSO GROUP
                                                TECHNOLOGIES LIMITED AND
13               Plaintiffs,                    Q CYBER TECHNOLOGIES LIMITED’S
                                                OPPOSITION TO MOTION FOR
14         v.                                   SANCTIONS

15   NSO GROUP TECHNOLOGIES LIMITED             REDACTED VERSION OF DOCUMENT
     and Q CYBER TECHNOLOGIES LIMITED,          FILED UNDER SEAL
16
                 Defendants.
17

18                                              Date:   N/A
                                                Time:   N/A
19                                              Ctrm:   3

20
                                                Action Filed: 10/29/2019
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 1   I.     INTRODUCTION

 2          This was the first of five ill-conceived lawsuits filed against Defendants in the United

 3   States amidst a wave of negative press coverage. Four cases have been dismissed, three by courts

 4   finding a lack of personal jurisdiction and/or forum non conveniens and the fourth voluntarily by

 5   the plaintiff (who resided in this District) for reasons related to the forum non conveniens factors.

 6   Plaintiffs are aware that their jurisdictional allegations against Defendants were untrue and attempt

 7   through this motion to establish personal jurisdiction without proof of any purposeful direction.

 8          There is no basis for any sanction, let alone terminating sanctions, because Defendants

 9   have not violated any order. Plaintiffs make an over the top request for terminating sanctions in

10   the hope that the Court will take a “split the baby” approach and award a lesser issue sanction

11   concerning the personal jurisdiction Plaintiffs know they cannot otherwise establish. The Court

12   should see through this gamesmanship.

13          Defendants suspect that Plaintiffs’ endgame, since the Court’s 2020 denial of Defendants’

14   Motion to Dismiss, has been to (1) seek discovery orders compelling production of export-

15   controlled information, (2) hope that Defendants would not produce it, and (3) seek sanctions at

16   the close of discovery. Defendants have complied with the Court’s discovery orders, however, in

17   spite of the extreme difficulty in doing so. This case has not involved the gigantic document

18   production that has become characteristic of commercial litigation in the United States (though

19   Defendants have produced just shy of 5,000 documents and over 46,000 pages,

20          . That is because of the export-controlled nature of the evidence at issue and the

21                                  of producing it. But it does not mean Defendants failed to meet any

22   discovery obligations or to comply with the Court’s orders. Rather, Defendants complied to the

23   letter of this Court’s discovery orders and their competing obligations under Israeli law.

24          Following the Court’s February 23, 2024, Order (Dkt. No. 292, the “February Order”),

25   Defendants’ lead counsel traveled to Israel for a full week to work with NSO to locate documents

26   that would satisfy Defendants’ discovery obligations. Defendants then

27                                                                      to allow them to comply with the

28
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 1   Court’s orders.1 Defendants were thus able to produce, on August 23-24, 2024, nearly 14,000

 2   documents sufficient to show the full functionality of the Accused Technologies,

 3

 4            Although Defendants have complied with the Court’s orders, Plaintiffs have brought this

 5   motion, hoping to have the case determined other than on its merits. No sanctions are warranted,

 6   however, because Defendants have not violated any order. When the Court compares Defendants’

 7   discovery efforts to its discovery orders, it should easily deny this motion and impose no sanctions,

 8   including the personal jurisdiction-related issue sanction Plaintiffs hope for to save their complaint.

 9   II.      BACKGROUND

10            A. Plaintiffs Repeatedly Deceived the Court, Including in its Richmark Balancing.

11            In its September 5, 2024, Order relating to Plaintiffs’ failure to serve a privilege log, the

12   Court reprimanded Plaintiffs for their failure to correct a representation they made to the Court

13   which led to unnecessary motion practice and a waste of the Court’s (and Defendants’) resources.

14   (Dkt. 377.) It has become clear that such deception was not a one-off mistake; it has been a key

15   part of Plaintiff’s litigating strategy dating back to the outset of the case.

16            First, Plaintiffs made specific representations in the Complaint on which the Court relied

17 in denying Defendants’ motion to dismiss for lack of personal jurisdiction: “Defendants’ program

18 sought out specific [Plaintiffs’] servers—including servers located California—in order to transmit

19 malicious code through those servers.” (Dkt. No. 111 at 22:7-9.) Discovery has shown that

20 allegation to be false:

21

22

23

24

25                                                    . (Dkt. No 396-2 at 8-11.) There is accordingly no

26   purposeful direction, and no personal jurisdiction. Plaintiffs have known this from the outset, but

27

28   1
         As Defendants informed the Court,                                                   , and it did.
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 1   did nothing to correct the misrepresentation they made to the Court.

 2          Plaintiffs also omitted vital information from the Court in obtaining the Court’s February

 3   Order, and in their subsequent motion to compel production of the AWS server that led to the

 4   Court’s August 1, 2024 Order (Dkt. No. 358, the “August Order”). Namely, Plaintiffs did not tell

 5   the Court (or Defendants)                                              until after the Court ordered

 6   Defendants to produce their copy.2 Plaintiffs devoted an entire section of their July 5 motion to

 7   compel to their supposed “Efforts to Obtain Information Regarding the AWS Server,” which

 8   completely omitted the fact that                                                    (Dkt. No. 331.)

 9   This motion also included statements obviously designed to mislead the Court into

10

11

12

13                                                                              (Dkt. 331 at 6:28-7:2.)

14   Because the first element of the Richmark analysis is “the importance to the investigation or

15 litigation of the documents or other information requested” (Dkt. 292 at 2), and because Plaintiffs’

16                                                   would substantially decrease the importance of its

17 request for                   . Plaintiffs’ deception misled the Court and prejudiced Defendants—

18 especially given that Plaintiffs were asking for NSO to be ordered potentially to violate Israeli law.

19          B. Defendants Have Produced all Discovery Ordered (and Substantially More).

20          Because Plaintiffs’ Motion accuses Defendants of violating two Court Orders, it is critical

21 to review the content of those Orders closely. First, neither the February Order nor the August

22 Order compelled any deposition discovery, and Plaintiffs have never sought any order compelling

23 any deposition discovery. So it is unclear why Plaintiffs argue that four full-day depositions of

24 Defendants’ employees provides a basis for any sanction, let alone terminating sanctions.

25          With respect to document discovery, the February Order granted in part Plaintiffs’ motion

26

27   2
    Plaintiffs did not divulge the fact that they                                    until the August
28 30, 2024, service of their expert report of David Youssef (Craig Decl. Exh. 6), or, arguably, their
   portion of a joint letter brief filed August 13, 2024 (Dkt. No. 359-2).
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 1   to compel (Dkt. 236). The Court analyzed the disputed issues according to the four categories by

 2   which those issues were briefed. The Court granted the motion as to categories 1 and 2 and denied

 3   the motion as to categories 3 and 4. In granting the motion as to category 1, the Court adopted

 4   Plaintiffs’ definition of the Accused Technologies3 and set the relevant time period as April 29,

 5 2018, to May 10, 2020. The Court allowed for the possibility that Plaintiffs could seek further

 6 discovery for later time periods if they were “able to provide evidence that any attack lasted beyond

 7 that timeframe” (February Order at 4:4-7), but Plaintiffs never did so.

 8          In granting the motion as to category 2, the Court ruled that Defendants’ production should

 9 not be limited to the “installation” layer: “Defendants’ proposal of producing information showing

10 the functionality of only the installation layer of the [Accused Technologies] would not allow

11 plaintiffs to understand how the [Accused Technologies] performs the functions of accessing and

12 extracting data, and thus, the court directs defendants to provide information sufficient to show the

13 full functionality of all [Accused Technologies].” (February Order at 4:28-5:4.)

14          The Court denied Plaintiffs’ motion as to categories 3 and 4, but several months later

15   clarified its ruling regarding part of category 4. The Court’s August Order stated: “The motion is

16   granted to the extent that plaintiffs seek production of information related to the [Accused

17   Technologies] (including Pegasus computer code) that was housed on the AWS web server and

18   was subsequently preserved.” (August Order at 7:17-19 (emphasis added).) This was precisely

19   the information Plaintiffs sought in their RFP No. 30: “A complete Image of the Device or Devices

20   that resolve to the Internet Protocol (IP) Address 54.93.81.200.” To the extent Plaintiffs’ motion

21   suggests Defendants have violated the Court’s August Order by failing to produce computer code

22   located on devices other than the AWS server, that is outside the scope of both what the Court

23   ordered and what Plaintiffs requested in discovery.

24          Plaintiffs’ motion to compel was not a model of clarity as to the document requests it put

25   at issue, but Plaintiffs’ proposed order made clear that they sought an order compelling production

26   of the following Requests for Production, as narrowed by Plaintiffs: Nos. 1, 3, 5, 7, 9, 10, 14, 15,

27
     3
28    Plaintiffs have used the pejorative term “Relevant Spyware” throughout this litigation.
     Defendants respectfully request that the Court use the more neutral term “Accused Technologies.”
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 1   16, 17, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 30, 72, 73, 75, 76, 78 and 79. (Dkt. 236-1 ¶¶ 2-3).4

 2 Category No. 3 (denied) requested an order for RFP No. 25, seeking interactions between

 3 Defendants and their customers. Category No. 4 (also denied) sought an order as to RFP Nos. 22,

 4 23, 30, 72, 73, 75, 76 and 78. In the clarifying August Order, the Court granted Plaintiffs motion

 5 as to RFP No. 30 and required Defendants to produce the AWS server prior to September 13, 2024.

 6          Giving the Court’s orders their broadest possible interpretation, the Court therefore

 7 compelled Plaintiffs to produce documents responsive to RFP Nos. 1, 3, 5, 7, 9, 10, 14, 15, 16, 17,

 8 19, 20, 21, 24, 26, 27, 28 and 30, as narrowed by Plaintiffs (the “Motion RFPs”).5 (Plaintiffs’

 9 narrowed production requests were set forth in a November 30, 2023 letter from Plaintiffs’

10 counsel, Craig Decl. Exh. 3.)

11          With the exception of RFP Nos, 5, 17, 26, 28 and 30, all of the Motion RFPs sought

12 documents “sufficient to show,” “sufficient to describe,” or “sufficient to identify” certain

13 information. On August 23-24, 2024,

14

15 Defendants made a very substantial document production.             This included (1)

16                                                                           ; and (2) 4,444 documents

17 (totaling 45,304 pages). (Craig Decl. ¶ 7.)

18                                                                                  . (Craig Decl. Exh.

19   7.) Defendants’ total production of documents                                 is comprised of 4,933

20

21   4
     Plaintiffs’ motion also sought supplemental interrogatory responses, which Defendants produced
22 during the discovery period. (Craig Decl. Exh. 1.) Those responses, the sufficiency of which
   Plaintiffs apparently acknowledge, provided an enormous amount of information about the full
23 functionality of the Accused Technologies. This included a five-page response to Interrogatory
   No. 2 (“Describe how each of the NSO Spyware identified in response to Interrogatory No. 1
24
   functioned, including how it was designed to be installed on a Device, the methods used to install
25 it on a Device, how it was used after being installed on a Device, how it exfiltrated data from a
   Device on which it was installed, and how it accessed or used any WhatsApp Computers.”) (Id.)
26 5 The Court also ordered the production of what Defendants “agreed to produce” (February Order
   at 3:8-10), which was set forth in the second column of Dkt. No. 235-4, Exhibit P, Plaintiffs’ First
27 Set of Requests for Production. The information Defendants agreed to produce, however, is simply

28 a subset of the information requested by Plaintiffs and ordered by the Motion RFPs, and therefore
   no separate analysis is required.
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 1   documents and 46,542 pages over 12 productions. (Craig Decl. ¶ 7.)

 2          The materials Defendants produced on August 24, 2024, were sufficient to show the full

 3   functionality of the Accused Technologies, and were fully responsive to the Motion RFPs, other

 4   than of RFP Nos. 5 and 10 (identification of WhatsApp vulnerabilities), 28 (NSO communications

 5   with Westbridge) and 30 (AWS server). (Gazneli Decl. ¶ 5; Craig Decl. ¶¶ 16-28.) As to RFP

 6   Nos. 5 and 10, Defendants were unable to locate any responsive documents in spite of a diligent

 7   and good faith search. (Ganzeli Decl. ¶¶ 8-9; Craig Decl. ¶ 23-26.) As to RFP No. 28, an oversight

 8   delayed production of responsive documents—a fact of which Plaintiffs were informed prior to

 9   the filing of this Motion (Craig Decl. ¶ 20), and those documents were produced on October 7,

10   2024 (Craig Decl. Exh. 10).

11

12

13

14

15          Plaintiffs’ sanctions motion is vague as to which RFPs they claim Defendants failed to

16 satisfy. It includes argument only about RFP Nos. 5, 17, 28, the AWS Server (RFP No. 30), and

17 a price list that Defendants were never ordered to produce. Defendants focus their argument below

18 on these issues. Due to the severity of Plaintiffs’ allegations (baseless though they are), however,

19 Defendants submit to the Court information demonstrating their compliance with each of the

20 Motion RFPs. (Craig Decl. Exhs. 1, 13-18 and 21-99 and ¶¶ 19-28.) Defendants do not lightly

21 burden the Court with the volume of materials submitted herewith, but believe this submission is

22 appropriate to demonstrate their compliance with the Court’s Order to produce documents showing

23 the full functionality of Pegasus, as well as with each of the Motion RFPs.

24          C. Plaintiffs’ Attempted Mudslinging About the                               Has Nothing

25              to Do with This Discovery Dispute.

26          Plaintiffs devote nearly five pages (pages 3-4 and most of pages 16-18) to irrelevancies

27

28                            (Dkt. No. 195 Exhs. A-B). Because
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 1    served as to improper subject matter having nothing to do with the issues to be tried.9 Moreover,

 2 no Rule 36(a)(6) motion has been brought regarding the sufficiency of Defendants’ responses to

 3 Plaintiffs’ RFAs about                               , and there is no basis for sanctions. If Plaintiffs

 4 believe Defendants’ denials of their RFAs were improper, their sole remedy would be to file a

 5 post-trial Rule 37(c)(2) request for expenses incurred proving matters not admitted.

 6 III.      ARGUMENT

 7           Plaintiffs rely exclusively on Rule 37(b) (as opposed to any other authority), as the basis

 8 for their motion, and Defendants respond accordingly. Rule 37(b), entitled “Failure to Comply

 9 with a Court Order,” authorizes sanctions only “if [a] party fails to comply with a court’s order to

10 provide or permit discovery.” Unigard Sec. Ins. Co. v. Lakewood Eng’g & Mfg. Corp., 982 F.2d

11 363, 367-68 (9th Cir. 1992). “This court . . . has foreclosed the application of Rule 37 sanctions .

12 . . where a party’s alleged discovery-related misconduct is not encompassed by the language of

13 the rule.” Id.at 368. “Rule 37(b)(2) has never been read to authorize sanctions for more general

14 discovery abuse.” Id. “To impose sanctions pursuant to Rule 37(b) . . . a party must have violated

15 a discovery order.” Nida v. Allcom, 2020 WL 2405251, at *6 (C.D. Cal. Mar. 11, 2020).

16           A.     Plaintiffs’ Motion Does Not Comply with the Civil Local Rules.

17           The Court should strike Plaintiffs’ motion for not complying with Civil Local Rules 7-2(b),

18 7-2(c), and 7-8. Plaintiffs’ sanctions motion exceeds the Court’s 25-page limit (Dkt. No. 405-2),

19 does not include notice of the motion within the 25 pages, and lacks a statement of relief sought.

20           B.     Production of the                                   Is Not Sanctionable.

21

22           To begin with,

23                . The Court ordered: “the motion is granted to the extent that plaintiffs seek production

24 of information related to the [Accused Technologies] (including Pegasus computer code) that was

25 housed on the AWS web server and was subsequently preserved.”

26

27    9
     RFAs are intended to streamline trials, not to inquire about discovery disputes. RFAs “serve[]
28 two vital purposes, both of which are designed to reduce trial time.” Fed. R. Civ. P. 36, Notes of
   Advisory Committee on Rules—1970 Amendment (emphasis added).
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 1

 2                                                 . (Gazneli Decl. ¶ 4.) The Protective Order allows

 3    for a party to comply with its discovery obligations by making source code merely available for

 4    review, and Defendants could have followed that procedure,

 5

 6

 7                            , and therefore there is no sanctionable conduct.

 8           Moreover, Plaintiffs Second Set of Requests for Production, including RFP No. 30 seeking

 9 the AWS server, did not specify a place for production. Rather, Plaintiffs simply asked Defendants

10 to “produce and permit the inspection and copying of the Documents and things described below,

11 within thirty (30) days after the date of service.” (Craig Decl. Exh. 5.) The Court’s August Order

12 likewise did not specify any place of compliance.

13

14                                       .

15

16                  . (Gazneli Decl. ¶ 4.) Plaintiffs argue that Defendants violated the requirement of

17 Rule 34(b)(2)(E)(ii) that electronically stored information be produced “in a form . . . in which it

18 is ordinarily maintained or in a reasonably usable form.” They argue that Defendants

19                                              . The “usability” requirement plainly relates to the file

20 format in which ESI is produced, not the location.          Moreover, this requirement is plainly

21 disjunctive. A producing party can produce ESI either in the form in which it is ordinarily

22 maintained or in some other reasonably usable form—“a party need not produce the same

23 electronically stored information in more than one form.” Fed. R. Civ. P. 34(b)(iii). Defendants

24                               as it was ordinarily maintained. There are no cases holding that

25 production of ESI in the form it was ordinarily maintained violates Rule 34(b)(2)(E)(ii).

26           And, Plaintiffs have not submitted any evidence to support their foundational claim that

27 they cannot use in this litigation

28
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 5

 6            Plaintiffs can                       ,

 7                                                                             , it does not follow that

 8                    is unusable in this litigation. Plaintiffs could engage a technical expert in Israel to

 9                              . (Block Decl. Exhs. J, L.) That expert could analyze                      and

10    testify about it, or could compare it with

11                                                                     .

12            Contrary to Plaintiffs’ assertion, Defendants have never told Plaintiffs that they cannot use

13    in litigation                                      . WhatsApp claims that “according to NSO,” the

14    Israeli production “cannot be used in the litigation or in trial.” (Mot. at 11:8.) That is simply a lie.

15    The transmittal letter accompanying                                    (and upon which Plaintiffs rely

16    to support this false statement) is that Defendants were

17

18                                                                    (Block Decl. Exh. H.) That is not

19    remotely the same as stating that the production cannot be used in litigation or in trial. Moreover,

20    this admonition essentially matches the admonition Plaintiffs provided with each of their

21    productions of technical materials, which helpfully reminded Defendants’ counsel that sharing

22    these materials with their client might violate U.S. law.10

23
      10
         Plaintiffs’ transmittal letters include the statement: “For the avoidance of doubt, by making this
24
      production and Plaintiffs’ prior productions available to U.S. counsel for Defendants in the United
25    States, Plaintiffs are under no obligation to determine, and do not take any position on, whether
      any of the produced documents are subject to the U.S. Department of Commerce’s Bureau of
26    Industry and Security Export Administration Regulations, 15 C.F.R. §§ 730.1, 730.6, or whether
      any such documents may be further transmitted to Defendants or any other party restricted from
27    receiving such documents under those regulations. It is the obligation of King & Spalding to
28    comply with all its legal obligations in that regard, and to obtain any licenses necessary before
      transmitting such documents to Defendants or any other entities.” (Craig Decl. Exh. 8.)
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 1           Plaintiffs have not been prejudiced by                                                       .

 2    Plaintiffs informed Defendants and the Court that

 3                      . Plaintiffs can                       for whatever purpose they wish.

 4

 5                                              relates to any issue in the case. Plaintiffs also have not

 6    claimed that

 7

 8

 9

10

11                                                                                   , although Plaintiffs

12    withheld the files that most clearly demonstrate this important fact until the last day of fact

13    discovery. (McGraw Decl. ¶¶ 3-4; Craig Decl. Exh. 100 and ¶ 15.)

14           In any event, Defendants should not be sanctioned for not doing something Plaintiffs

15    acknowledge they are also unable to do because of foreign legal restrictions. Israel’s DECL

16    precludes

17

18                                         . Plaintiffs are now

19                                                    .    Sanctions would not be appropriate in these

20    circumstances. Wyndham Vacation Ownership, Inc. v. Clapp Business Law, LLC, 2020 WL

21    3266059, at *3 (M.D. Fla. Apr. 2, 2020) (where the non-moving party demonstrates impossibility,

22    through more than mere assertions, the moving party must prove that compliance with order was

23    possible in order to obtain sanctions); cf. S.E.C. v. Custable, 1999 WL 92260, at * (N.D. Ill. Feb.

24    11, 1999) (a court should not impose contempt sanctions where compliance with order is

25    impossible); United States v. Rylander, 460 U.S. 752, 757 (1983) (same); Fed. R. Civ. P.

26    37(b)(2)(A) (sanctions orders must be “just”). If Plaintiffs’ response to this is that the Court’s

27    orders apply to Defendants and not Plaintiffs, Defendants respond that the Court’s orders did not

28
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 1    specify a place for production.11

 2           Plaintiffs’ cases are easily distinguishable. WhatsApp cites three cases that it claims show

 3    Defendants’ noncompliance with the supposed requirement to produce ESI be in “reasonably

 4    usable form.” (Mot. at 11-12.) In each of those cases, the producing party merely offered to make

 5    available for inspection computer code or other materials in a distant foreign location. Here,

 6

 7

 8                . (Gazneli Decl. ¶ 4.) That distinction is everything. In a case not cited by Plaintiffs,

 9    Seoul Semiconductor Co., Ltd. v. FEIT Electric Co, Inc., 2024 WL 1136525 (C.D. Cal. Jan. 9,

10    2024), the court required the defendant to travel to South Korea to review the accused products,

11    even though plaintiff had purchased those products in the United States and then exported them to

12    South Korea for testing, and even though there were no foreign law issues of any kind that would

13    have prevented plaintiff from bringing them back to the United States. That court distinguished

14    Plaintiffs’ case of Rambus Inc. v. Hynix Semiconductor Inc., 2007 WL 9653195 (N.D. Cal. Sept.

15    25, 2007), because the primary issue in Rambus was that the format of the production was not

16    electronically searchable (and therefore not in “reasonably usable form”). That is not at issue here.

17           A sanction here would be unprecedented. Defendants have found no case imposing

18    sanctions

19                                                                 .

20           For at least these reasons, production of                           is not sanctionable.12

21           C.      Plaintiffs Now Possess Information Sufficient to Show the Full Functionality
                     of All Accused Technologies.
22
             Plaintiffs’ attempt to rewrite the Court’s Orders as requiring the production of code from
23

24
      11
25    Principles of comity militate against the Court from sanctioning Defendants for not violating
   Israeli law—particularly now that Plaintiffs acknowledge that
26                                                 .
   12
      There is an easy and obvious solution to the inability
27 l       : the Court should dismiss this case for lack of personal jurisdiction and/or forum non
28 conveniens, and Plaintiffs can refile it in Israel. That would not only be the correct result as a
   matter of law, Plaintiffs could then also                                     without restriction.
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 1    Technologies “target Plaintiffs’ servers” (the central issue in the case) (Mot. 20:18-20), as they

 2    moved for summary judgment on that very point—which included a detailed analysis of exactly

 3    how the Accused Technologies interacted with WhatsApp’s server (see Dkt. No. 399-2 at 11-18).

 4    In addition, Plaintiffs have opposed Defendants’ motion for summary judgment on the merits and

 5    do not argue that any additional discovery is required under Rule 56(d). (See generally Dkt. No.

 6    418-3.) Accordingly, it is undisputed that Defendants produced information in discovery sufficient

 7    to show the full functionality of all Accused Technologies.

 8           Finally, Plaintiffs argue that Mr. Gazneli                                           . (Mot. at

 9    12:5-19.)                                                                                            ,

10    (Gazneli Decl. ¶ 6),                         . For example, Mr. Gazneli testified

11                                                                                                         .

12    (Block Decl. Exh. N at 12:20-13:6.)                                  (Gazneli Decl. ¶ 6),

13                                                                                                   (Craig

14 Decl. Exh. 100 and ¶ 15). The cases ordering production of documents reviewed by corporate

15 representatives in preparing for Rule 30(b)(6) deposition are of no moment because Defendants

16                                                                                                 . In any

17 event, the proper remedy for a failure to produce documents relied on by a witness to prepare for

18 deposition would not be terminating or issue sanctions, as Plaintiffs’ own cases cited on page 12

19 make clear. Converse v. Vizio, Inc., 2019 WL 3322383 (W.D. Wash, July 23, 2019) (granting

20 motion to compel, no mention of sanctions); Seven Seas Cruises S. D.E.R.L. v. V. Ships Leisure

21 Sam 2010 WL 5187680 (S.D. Fla. Dec. 10, 2010) (granting motion to compel, denying sanctions.)

22           D.      Defendants Have Fully Responded to the Motion RFPs, Including
                     Documents Sufficient to Show the Accused Technologies’ “Full
23                   Functionality”
24           The Court granted Plaintiffs’ motion to compel only with respect to the Motion RFPs. Of

25 those eighteen RFPs, thirteen require production of documents “sufficient to show,” “sufficient to

26 describe,” or “sufficient to identify” certain information. These formulations were negotiated by

27

28    (Gazneli Decl. ¶ 7.) Defendants’ counsel so informed Plaintiffs’ counsel during a conference of
      counsel on September 30—a fact Plaintiffs omit from their motion. (Craig Decl. ¶ 21.)
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 1    the parties through several conferences of counsel, and they give Defendants certain latitude in

 2    determining how to comply with the Motion RFPs. Moreover, any determination that Defendants

 3    have failed to comply would require an evaluation of Defendants’ production as a whole.

 4           Here, Defendants and their counsel met for a week at Defendants’ offices in Israel, and

 5    during that time, worked intensively on the project to locate and produce documents sufficient to

 6    show, describe and identify the matters that were the subject of the Motion RFPs. (Craig Decl. ¶

 7    3.) These materials are

 8

 9                                                                   Defendants produced these 4,444

10    documents to Plaintiffs on August 24, 2024. (Craig Decl. ¶ 7.)

11           Defendants have prepared a table setting forth the topics of the Motion RFPs, with

12    examples of the documents Defendants produced that are sufficient to show, describe, or identify

13    the material sought by the Motion RFPs. (Craig Decl. ¶ 28.) As a practical matter, Defendants

14    cannot provide the Court with every single document produced in discovery, but Defendants have

15    attempted to give the Court a fair cross-section of their production, which collectively

16    demonstrates the full functionality of the Accused Technologies, i.e. the versions of

17    Pegasus/Phantom at issue in this case. (Craig Decl. Exhs. 1, 24-28, 32-95.) Defendants’

18    supplemental interrogatory responses and the deposition of Tamir Gazneli also provided Plaintiffs

19    with an enormous amount of information about the full functionality of the Accused Technologies.

20    (Craig Decl. Exhs. 1-2.) Plaintiffs’ reply will no doubt nitpick that some aspect of the Accused

21    Technologies is not covered by the voluminous materials Defendants are submitting in opposition.

22    It is impossible to preempt every argument Plaintiffs might make. Defendants would happily

23    provide the Court with all 4,933 documents prior to the November 7 hearing and, if the Court

24    wishes, would provide the Court a non-adversarial “technology tutorial” about Pegasus.

25           While “full functionality” is not a subject of any of the Motion RFPs, the Court did make

26    reference to the full functionality of Pegasus in its February Order. Accordingly, Defendants’ table

27    (Craig Decl. ¶ 28) also sets forth documents that, along with interrogatory responses and deposition

28
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 1    testimony, amply show the full functionality of the Accused Technologies.15
                    1.     Defendants’ “Communications” Are Not Necessary to Respond to the
 2                         Motion RFPs Seeking “Documents Sufficient to Show…”
 3             Plaintiffs assert that Defendants have not produced their “communications.” That is
 4    untrue, and many documents produced by Defendants are communications; they are just not
 5    emails. (See, e.g., Craig Decl. Exhs. 44, 62, showing technical specifications followed by
 6    comments from NSO employees.) More fundamentally, because nearly all the Motion RFPs are
 7    phrased as seeking documents and communications “sufficient to show,” “sufficient to describe,”
 8    or “sufficient to identify,” it should not be at all surprising that Defendants, rather than sifting
 9    through countless emails and trying to make judgment calls whether or not they are collectively
10    “sufficient to show” a particular topic, identified the technical documents that were in fact
11    sufficient to show, describe, or identify, the matters about which Plaintiffs sought discovery.
12             After the parties’ negotiations led Plaintiffs to revise their RFPs, it is telling that only two
13    of them, RFP Nos. 5 and 28, require a search for communications. Those two are phrased as
14    seeking “All Documents and Communications” about a particular subject, “as limited through the
15    use of search terms and custodians.” (Craig Decl. Exh. 3.) These two RFPs are addressed below.
16    The remainder of the Motion RFPs do not reference “search terms and custodians.”
17             The bulk of the Motion RFPs are the thirteen that seek documents “sufficient to show
18    certain information, which Defendants have either satisfied without need for internal
19    communications, or, in the case of RFP 10, have explained that no responsive documents exist
20    (Gazneli Decl. ¶¶ 8-9). They are:
21         •   RFP 1: “sufficient to show NSO’s development, testing, deployment installation,
22

23    15
         “Functionality” means “the set of functions or capabilities associated with computer software or
      hardware or an electronic device.” https://www.merriam-webster.com/dictionary/functionality.
24
      The full functionality of Pegasus/Phantom is data collection, monitoring and investigation, data
25    transmission, data presentation/analysis, and certain operational security features. This
      functionality, and how Pegasus/Phantom performs those functions, is shown by the documents set
26    forth in the “full functionality” row of Defendants’ chart (Craig Decl. ¶ 28). Defendants do not
      agree that installation is a “function” of Pegasus, but for the avoidance of doubt, Defendants’
27    document production and interrogatory responses are more than sufficient to describe the
28    installation vectors Heaven, Eden and Erised. (Craig Decl. Exhs. 1, 24, 26-28, 32-34, 36, 38-58,
      67-95.)
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             distribution, use, maintenance, troubleshooting, and/or operation of [the Accused
 1           Technologies];”
 2       •   RFP 3: “sufficient to show how NSO intended for or permitted third parties to use the
             [Accused Technologies], including but not limited to marketing materials, licensing
 3           agreements, user complaints, and training manuals or documents;”
 4       •   RFP 7: “sufficient to show how NSO developed and tested any exploit or technology used
             in the [Accused Technologies];”
 5
         •   RFP 9: “sufficient to show the processes, methods and technology used by the [Accused
 6           Technologies] to monitor target devices and exfiltrate data, including but not limited to
             command and control software or payloads;”
 7
         •   RFP 10: “sufficient to identify the mobile phone and device operating system
 8           vulnerabilities used to install the [Accused Technologies];”
 9       •   RFP 14: “sufficient to show the processes, methods, and technology used to install the
             [Accused Technologies] on the mobile phones and devices of target users, including but
10           not limited to computer code, commands, data, or payloads transmitted or received during
             the installation of the [Accused Technologies];”
11
         •   RFP 15: “sufficient to show analysis, reverse engineering, disassembling, or emulating of
12           any version of the WhatsApp application . . .”
13       •   RFP 16: “sufficient to show the technologies used in the [Accused Technologies] to
             communicate with WhatsApp, including WhatsApp servers, endpoints, computers, and
14           computer networks, other than the official WhatsApp application;”
15       •   RFP 19: “sufficient to show the technology used to transmit any data or information from
             any target device containing or infected with the [Accused Technology];”
16
         •   RFP 20: “sufficient to describe the design and operation of Pegasus, including but not
17           limited to the ‘layers’ described in Exhibit 10 of the Complaint: installation, data
             collection, data, transmission, presentation and analysis, and administration;”
18
         •   RFP 21: “sufficient to describe the design and operation of Pegasus’ system architecture
19           and technology, as described in Exhibit 10 of the Complaint;”
20       •   RFP 24: “sufficient to describe the data and information NSO or NSO customers obtained
             from the target users or the target devices;”
21
         •   RFP 27: “sufficient to describe NSO’s corporate structure, including all parents,
22           subsidiaries and affiliates.”
23    (Craig Decl. Exh. 3; see also Dkt. 235-4 Exh. P.)
24           With respect to these thirteen Motion RFPs, each of which seeks documents sufficient to

25    show very technical matters, the documents Defendants produced as “sufficient to show” the

26    information requested are centralized technical files, not random emails between employees.

27    Indeed, the “substantial time, effort and cost” to collect these emails outweighs the “marginal

28    relevance and limited potential benefit” of producing duplicative or cumulative emails at this stage
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 1    of the litigation, when Defendants have already produced technical documents that are more

 2    narrowly tailored to demonstrate the requested information. In re Cathode Ray Tube (CRT)

 3    Antitrust Litig., No. 3:07-CV-05944SC, 2015 WL 13655394, at *9 (N.D. Cal. July 9, 2015).

 4    Plaintiffs include no coherent argument as to why they think it should be otherwise, but instead

 5    rally around a thoughtless “but what about the emails?” drumbeat that is better suited to Fox News

 6    circa 2016. The Court should reject it.

 7                   2.      RFP Nos. 5 and 10, Identification of Vulnerabilities

 8           Request No. 5 sought “all documents and communications concerning the identification of

 9    WhatsApp application or network vulnerabilities, including but not limited to any payments for

10    bounties for WhatsApp vulnerabilities, contracts for services by vendors, or analyst work product

11    and reports, as limited through the use of search terms and custodians.” Request No. 10 sought

12    documents sufficient to identify these vulnerabilities. After a diligent search, Defendants have not

13    recovered no responsive documents.

14           Request No. 5 can be broken out into two parts, separated by an “including but not limited

15    to” phrase. Defendants have no documents responsive to either portion. Defendants, like other

16    companies in their industry,                                                             . (Gazneli

17    Decl. ¶¶ 8-9.) This policy is industry standard and exists for operational security reasons. (Id. ¶

18    8.) Nevertheless, Defendants conducted an extensive keyword search of the documents of 25

19    custodians; those search terms hit on 6,437 documents. (Craig Decl. ¶¶ 25-26.) After a two-stage

20    review of the “hits,” Defendants located no responsive documents for RFP Nos. 5 and 10. (Id.)

21    With respect to the second half of Request No. 5, Defendants

22

23

24                                              . (Gazneli Decl. ¶ 9.)
                     3.      Request for Production No. 17, WhatsApp Accounts
25
             Request No. 17 sought documents and communications “concerning WhatsApp Accounts
26
      used to develop, test, transmit, install, distribute or use [the Accused Technologies].” Defendants
27
      understood this request as seeking documents sufficient to identify
28
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 1

 2

 3           . (Craig Decl. Exhs. 21-22.) Defendants produced all such information located after a

 4 reasonable and diligent search. Plaintiffs have now submitted a dispute to the Court seeking to

 5 share these documents about                                       with certain of their “business”

 6 persons, notwithstanding Defendants’ designation of such information as highly confidential—

 7 attorneys’ eyes only. (Dkt. No. 408.)      Based on that dispute, Plaintiffs appear to concede

 8 Defendants have produced                                           to Plaintiffs.

 9                 4.      RFP No. 26, Marketing Materials

10          Request No. 26 sought “All documents used to market, sell, or promote [Accused

11 Technologies] that refer to WhatsApp in any way.” It is unclear what relevance Defendants’

12 marketing materials have to any issue in the litigation about the CFAA, CDAFA, WhatsApp’s

13 Terms of Service, or any affirmative defense, but Defendants nevertheless collected all responsive

14 marketing materials and produced them to Plaintiffs. (Craig Decl. Exhs. 13-18.)
                  5.     RFP No. 28, Defendants’ Communications with Westbridge
15
           RFP No. 28 sought all communications with Westbridge Technologies relating to
16
   WhatsApp and the surveillance of WhatsApp users, as limited through the use of search terms and
17
   custodians. During a conference on September 30, 2024, Defendants’ counsel informed Plaintiffs’
18
   counsel that Defendants had collected and reviewed these documents from NSO custodians, but
19
   through an inadvertent oversight, they were not produced. (Craig Decl. ¶ 20.) Defendants
20
   subsequently produced all of NSO’s communications with Westbridge relating to WhatsApp and
21
   the surveillance of WhatsApp users on October 8, 2024. (Id.) This production was comprised
22
   almost entirely of NSO emails. (Craig Decl. ¶ 19.)
23
                  6.     RFP No. 30, the AWS server
24
           As discussed at length above, RFP No. 30 sought a copy of the AWS server.
25
                                                                                          .
26
           In sum, Defendants have fully complied with all of the Motion RFPs. The fact that few
27
   internal communications were produced means only that Defendants focused on the actual
28
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 1    language of Plaintiffs’ requests and located the documents “sufficient to show” the information

 2    requested. With respect to the two requests that sought internal communications (as limited by

 3    custodians and keyword searches), Defendants either produced those they were able to locate (RFP

 4    No. 28 re Westbridge communications), or were unable to locate any responsive documents after

 5    a good faith and diligent search (RFP No. 5 re identification of WhatsApp vulnerabilities, and the

 6    closely related RFP No. 10). (Craig Decl. ¶¶ 19-20 and 23-26.)

 7           E.      Defendants’ Production of Financial Documents is More than Sufficient

 8           Defendants are confused by Plaintiffs’ discussion of financial documents in their sanctions

 9    motion because the Motion RFPs do not include any requests for financial information, and

10    certainly do not include any request to which a price list would be responsive. Plaintiffs cite to

11    Dkt. 176-2 (Motion at 13:21), which was Defendants’ March 2023 motion for a protective order.

12    The order denying Defendants’ motion (Dkt. 233) did not order Defendants to produce anything,

13    let alone financial information or a price list. Defendants cannot be sanctioned for failing to

14    produce documents the production of which has not been ordered.

15           Defendants have produced copious financial information to Plaintiffs, including audited

16    financial statements from 2018 through 2020 for NSO, Q Cyber (Israel), and a parent company

17    named Triangle Holdings. (Craig Decl. Exhs. 11-12.) Defendants have also produced shareholder

18    registries for both Defendants. (Craig Decl. Exhs. 19-20.) Further, Defendants have produced

19    complete information about the amounts their customers paid for all of Defendants’ products,

20    including but not limited to Pegasus, for the ordered discovery period. (Craig Decl. Exh. 2045 and

21    ¶ 16.) Every revenue stream received by Defendants during this period is reflected in the

22    information produced to Plaintiffs, which, contrary to Plaintiffs’ claim, was created by NSO

23    employee Sarit Gil and not by Defendants’ attorneys (Craig Decl. Exh. 9 at 158:19-159:3). In

24    light of this production of information that shows the sums Defendants actually received for each

25    contract, Plaintiffs have no need for a “price list” document that, like a car dealer’s “MSRP,” bears

26    no relation to the prices customers actually paid. Moreover, the only issue that this information

27    relates to is Plaintiffs’ claim for disgorgement of Defendants’ profits, which is not a jury issue.

28    The Court can deal with any discovery disputes about Defendants’ financial information after the

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 1    jury trial, if one takes place and if Plaintiffs show a right to disgorgement. The Court should

 2    neither impose sanctions nor order discovery of Defendants’ price list, in light of Defendants

 3 having provided Plaintiffs with the actual amounts they have received for all sales of the Accused

 4 Technologies (and all other products besides).

 5            F.       Defendants’ Refused to Answer Deposition Questions Only to Enforce the
                       Court’s Temporal Discovery Limitation and to Comply with Israeli Law.
 6
              Rule 30(c)(2) provides that a person may properly instruct a deponent not to answer when
 7
      necessary to enforce a limitation ordered by the court. In the February Order, the Court ordered
 8
      the time for which discovery could be had was limited to April 29, 2018, to May 20, 2020, though
 9
      it advised that Plaintiffs could seek to expand that if it had cause to do so. Plaintiffs never made
10
      any such request.     Accordingly, at deposition, Defendants’ counsel occasionally instructed
11
      Defendants’ witnesses to not answer questions that sought information about time periods other
12
      than those allowed by the Court in order to enforce the Court’s limitation. This is not improper,
13
      and it is certainly not sanctionable.
14
              Moreover,
15

16

17

18
                                                                         . (Gelfand Decl. ¶¶ 6, 9.) On a
19
      few occasions,
20
                . Nevertheless, Defendants’ witnesses each answered nearly all questions put to them,
21
      each over the course of a full day—or more. Plaintiffs cite to only a tiny number of instances
22

23
                . Plaintiffs do not and cannot explain how an answer to those questions would have been
24
      relevant to their claims in this case.
25
              Plaintiffs point to one instance where
26
                                (Mot. at 14:20-21.) This mischaracterizes Mr. Gazneli’s deposition.
27
      Immediately after the testimony cited,
28
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 1

 2    (Craig Decl. Exh. 2 at 142:13-16.) Plaintiffs’ counsel

 3                                                                                       . (Id. at 142:18-

 4 147:9.)     Additionally,

 5                                 (Craig Decl. Exh. 2.) Plaintiffs’ complaint about the testimony of

 6                                                                          (Mot. at 25:14-16) is similarly

 7 misleading. In the very excerpt cited by Plaintiffs,

 8                                                                         . (Block Decl. Exh. O at 216:6-

 9 22.)                                                     , consistent with the Court’s February Order.

10           Plaintiffs’ cited authority provides an exception to Rule 30(c) if there is a risk of “serious

11 harm”                                , and in any event those cases did not hold that sanctions were

12 appropriate. Mot. at 15 (citing Detoy v. City & Cnty. of San Francisco, 196 F.R.D. 362 (N.D. Cal.

13 2000)).

14                                                                              [Dkt. 133-6 Exh. B at 2.]

15 Additionally, Defendants and “any officer in [their] corporation[s]” face prosecution, a term of

16 “three years’ imprisonment or a fine” if they provide Defense-Know-How to a party without a

17 defense export license. Def.’s Mot. for Protective Order at 4-5, Dkt. No. 186. These consequences

18 no doubt constitute the “serious harm” that the exception contemplates,

19                                                                               . Importantly, Plaintiffs

20 do not cite cases considering Rule 30(c) violations where the requested testimony risked

21                              , incurring criminal penalties, or                                          .

22 That is this case. And the potential consequences here preclude it from being controlled by the

23 cases Plaintiffs cite, involving nominal objections to relevance or scope. Mot. at 15 (citing

24 Hernandez v. Lynch, No. EDCV 16-620 JGB (KKX), 2019 WL 6998774 at *2 (C.D. Cal. June 18,

25 2019) (objections to “questions on the grounds that they were not relevant.”); Maui Jim, Inc. v.

26 SmartBuy Guru Enterprises, No. 16 C 9788, 2019 WL 356805, at *4 (N.D. Ill. Jan. 29, 2019)

27 (requested testimony was not “relevant to [defendant’s] trademark misuse defense”); Vasquez v.

28 Leprino Foods Co., No. 117CV00796AWIBAM, 2019 WL 1934015, at *5 (E.D. Cal. May 1,
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 1    2019) (objecting to questions “outside the scope of [deponent’s] second, limited deposition.”)). In

 2    those cases, the risk of providing the testimony was significantly lower than the criminal penalties

 3                                               , and yet the courts did not find sanctions appropriate.

 4    In fact, Hernandez reversed the award of sanctions as an abuse of discretion where counsel’s

 5    objections were based on a “good faith misinterpretation” of the court’s prior orders limiting the

 6    scope discovery. 2019 WL 6998774 at *4. Those cases provide no basis to impose sanctions for

 7    defense counsel’s objections here, where an illegal disclosure of Defense-Know-How posed far

 8    graver penalties. Simply put, defense counsel’s objections did not violate Rule 30(c) because the

 9    elicited testimony posed a risk of serious harm, and in any event Plaintiffs have not demonstrated

10    sanctions are appropriate for any violation.

11           G.                                  Are Essentially Irrelevant to Plaintiffs’ Motion.

12

13                                                                                                       .

14    Defendants have fully complied with the Court’s discovery orders,

15

16                                              (see Gelfand Decl. ¶¶ 6-9). Plaintiffs’ lengthy discussion

17    that                                                    is incorrect. Defendants

18

19

20             (see Gelfand Decl. ¶ 9),                    , Defendants

21                            and satisfy their discovery obligations, including the Motion RFPs.

22           Defendants’ conduct does not “mirror” that of the defendant in Richmark Corp. v. Timber

23    Falling Consultants, 959 F.2d 1468 (9th Cir. 1992). Unlike Defendants who have been forcibly

24    hailed into this Court, the Beijing defendant in Richmark invoked federal court jurisdiction by

25    appealing a default judgment, and then abused the discovery rules of those courts to hide its assets

26    and frustrate the underlying judgment. See id. at 1478. Specifically, Beijing failed to respond to

27    discovery requests and “refused to disclose . . . information concerning its assets” despite the

28    court’s having entered three discovery and contempt orders against it. Id. at 1472 n.4. Defendants

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 1    have not refused to provide any information ordered by the Court; at most

 2

 3                                        . Producing the requested information to Plaintiffs’ counsel

 4                                          further distinguishes Defendants from Beijing, as the latter

 5 did not take “all the reasonable steps” to comply with the orders compelling disclosure. Id. at

 6 1479. Finally, the threat of criminal prosecution against Beijing’s was “self-imposed” as it could

 7 have posted a bond or paid the judgment without violating the blocking statute. Id. at 1477.

 8 Although Plaintiffs incorrectly assert (Mot. at 15) that NSO hampered its own ability to participate

 9 in discovery, Defendants have                                                                           .

10 Defendants’ good faith effort to comply with the Court’s orders,

11                                  , renders Plaintiffs’ ‘hiding behind Israeli law’ accusation and

12 comparisons to Beijing untenable.

13           H.     No Sanctions of Any Kind are Warranted.

14           Plaintiffs’ request for terminating sanctions is ludicrous. Plaintiffs are trying to manipulate

15 the Court into “splitting the baby” and awarding as an issue sanction that which Plaintiffs

16 desperately need to avoid their case being dismissed for lack of personal jurisdiction. The last three

17 pages of Plaintiffs’ motion, setting forth the personal jurisdiction-centric issue sanctions they seek,

18 betray Plaintiffs’ actual intent.

19           No sanctions of any kind are warranted here because Defendants have not violated any of

20 the Court’s discovery orders. Specifically, the issue sanctions sought by Plaintiffs, the first three

21 of which seek findings that would short-circuit the Court’s personal jurisdiction analysis, are

22 counterfactual and unwarranted.

23           Targeting of Plaintiffs’ California-based servers. First, Plaintiffs argue that whether

24 Defendants knowingly targeted California servers is irrelevant based on a willful misreading of

25 the Court’s Order on Defendants’ Motion to Dismiss (Dkt. No. 111). In that Order, the Court

26 credited Plaintiffs’ allegations to mean that “defendants’ program sought out specific servers—

27 including servers in California—in order to transmit malicious code.” (Id. at 22.) Those

28 allegations have now been disproven, including by
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 1                           . (Dkt. No. 396-2 at 9-11; Gazneli Decl. ¶ 11; McGraw Decl. ¶¶ 3-4).

 2    Plaintiffs’ argument that additional discovery (presumably                                           )

 3    would prove the opposite of that                                        plainly shows is illogical.

 4            Location of third-party servers. Plaintiffs admit the Court denied their motion to compel

 5    with respect to server architecture, which includes third-party servers. (Motion at 24:13-16.) No

 6    sanction, let alone an issue sanction, is warranted. Unigard, 982 F.2d at 367-68. The Court should

 7    certainly not impose the issue sanction Plaintiff requests—that Defendants knowingly used a

 8    California-based server—when the facts demonstrate that Defendants could not have known where

 9    the third-party server was located. (Dkt. No. 396-2 at 11-14.)

10           Relationship with Westbridge. Defendants have produced all documents responsive to

11    Request No. 28 (Craig Decl. ¶¶ 19-20). Because Defendants are in compliance with the Court’s

12    Order, no sanction is warranted. Moreover, the fact that Defendants “routinely collud[ed]” with

13    Westbridge, their sales agent in the United States, is not grounds for alter ego where Westbridge

14    had its own articles of incorporation, bylaws, books and records, bank account, and employees.

15    (Dkt. No. 396-2 at 14-16).

16           Use of Pegasus by NSO’s customers. Plaintiffs seek issue sanctions about the roles that

17    Defendants’ customers take in using Pegsaus, without identifying any order, or even any discovery

18    request, with which Defendants failed to comply. Yet Plaintiffs ask the Court to preclude NSO

19    from arguing that its customers operated Pegasus.        Plaintiffs’ own documents show

20                                                                                       . (Dkt. No. 396-5

21    at Exhs. R-V.) Plaintiffs’ requests for issue sanctions should be denied.

22    IV. CONCLUSION

23           For the foregoing reasons, the Court should deny Plaintiffs’ motion for sanctions.

24    Dated: October 16, 2024                      KING & SPALDING LLP

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      DEFENDANTS’ OPPOSITION TO                       25                          Case No. 4:19-cv-07123-PJH
      MOTION FOR SANCTIONS
